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Edward D. Greim
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                                           March 29, 2021

Hon. Lewis J. Liman
United States Courthouse
Courtroom 17A
500 Pearl Street
New York, New York 10007

   Re:      Eastern Profit Corp. Ltd. v. Strategic Vision US, LLC, Case No. 18-cv-2185 (LJL)-DCF

Dear Judge Liman:

       On behalf of all parties, Defendant/Counterclaimant Strategic Vision respectfully
requests the scheduling of a Pretrial Conference in connection with the April 19, 2021 trial. A
Pretrial Conference had been set earlier in the case in association with one or more trial dates
that were continued for concerns involving the COVID-19 pandemic. We would request that the
Pretrial Conference be held by telephone or Zoom conference at the earliest possible date,
including to resolve, among other items, an objection by Eastern Profit to an out-of-state witness
designated on Strategic Vision’s January 29, 2021 amended witness list. That witness would
need time to make travel plans and arrive in New York early enough to comply with the current
COVID testing and quarantine protocols for New York State and this Court.

         Thank you for your consideration of this matter.



                                               Respectfully submitted,



                                               Edward D. Greim
                                               Attorney for Defendant/Counterclaimant


   cc:      Counsel of record via ECF




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